        Case 1:24-cv-03524-ARR-JAM Document 4 Filed 05/14/24 Page 1 of 2 PageID #: 12
AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Eastern District of New York

BARBARA SEAMAN, on behalf of herself and all                     )
others similarly situated,                                       )
                                                                 )
                                                                 )
                            Plaintiff(s)
                                                                 )
                                                                 )
                                v.                               )       Civil Action No. 24-cv-3524
                                                                 )
THIS IS L., INC.,                                                )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) This Is L., Inc.
                                           c/o CT Corporation System
                                           4400 Easton Cmns Ste 125
                                           Columbus OH 43219-6223

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you_
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ._
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Reese LLP, 100 W 93rd St, 16th Fl, New York, NY 10025




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint._
You also must file your answer or motion with the court.
                                                                            BRENNA B. MAHONEY
                                                                           CLERK OF COURT


Date:     5/14/2024
                                                                                     Signature of Clerk or Deputy Clerk
         Case 1:24-cv-03524-ARR-JAM Document 4 Filed 05/14/24 Page 2 of 2 PageID #: 13

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .


               I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

               I returned the summons unexecuted because                                                                         ; or

               Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $                     .

           I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address


Additional information regarding attempted service, etc:
